Case 8:09-cr-00004-JSM-TGW Document 106 Filed 04/16/13 Page 1 of 6 PageID 193
Case 8:09-cr-00004-JSM-TGW Document 106 Filed 04/16/13 Page 2 of 6 PageID 194
Case 8:09-cr-00004-JSM-TGW Document 106 Filed 04/16/13 Page 3 of 6 PageID 195
Case 8:09-cr-00004-JSM-TGW Document 106 Filed 04/16/13 Page 4 of 6 PageID 196
Case 8:09-cr-00004-JSM-TGW Document 106 Filed 04/16/13 Page 5 of 6 PageID 197
Case 8:09-cr-00004-JSM-TGW Document 106 Filed 04/16/13 Page 6 of 6 PageID 198
